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                                                                    North Texas Flight Standards District Office
                                        Aviation Safety             8700 Freeport Parkway Suite 225
                                                                    Irving, TX 75063
                                                                    (214) 277-8500      Fax: (214) 277-8570




August 16, 2021

Ryan Nichols
110 Lacebark Lane
Longview, TX

Dear Mr. Nichols:

This letter is in response to your email on April 24, 2020, regarding a low flying aircraft
near Longview, TX. The aircraft in question was flying low over your neighborhood. We
understand this aircraft was loud and caused concern for you and your neighbors. Thank
you for providing this information and video footage.

We have investigated the incident and have taken appropriate action. We consider this
matter closed. However, if you have any additional information that would require further
action, please contact this flight standards district office.

If you have any questions or concerns, please do not hesitate to contact this office at
(214) 277-8500.

Sincerely,
Jolynn
             Digitally signed
             by Jolynn Davila
             Date:
Davila       2021.08.16
             11:16:48 -05'00'

Jolynn M. Davila
Aviation Safety Inspector

Ecc: Ryan Nichols, (ryannichols-32@hotmail.com)
